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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

ERVIN MARION,                                 )
                                              )
       Plaintiff,                             )
                                              )       No. 3:10-3131-CMC
       vs.                                    )
                                              )
NATIONWIDE CREDIT, INC.,                      )
                                              )       JURY DEMAND ENDORSED HEREON
       Defendant.                             )


                                            COMPLAINT

       NOW COMES the Plaintiff, ERVIN MARION, by and through his attorney, JAMES M.

ERVIN, and for his Complaint against the Defendant, NATIONWIDE CREDIT, INC., Plaintiff

alleges and states as follows:

                                 PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq.

                                 JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                             PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in Columbia,

South Carolina.

       4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as he is a natural

person allegedly obligated to pay a debt.
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       5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiff.

       6.      On information and belief, Defendant is a corporation of the State of Georgia,

which is licensed to do business in South Carolina and which has its principal place of business

in Kennesaw, Georgia.

                                        ALLEGATIONS

       7.      Beginning during or about the month of October of 2007 and continuing off and

on into 2010, Defendant’s representatives and/or employees have been contacting Plaintiff by

telephone at his place of employment and at his residence, sometimes multiple times per day, in

attempts to collect the aforementioned alleged debt.

       8.      On each occasion that Defendant’s representative and/or employee placed

telephone calls to Plaintiff at his place of employment, Plaintiff informed the caller that his

employer did not permit him to take calls of a personal nature while he was working.

       9.      However, the calls from Defendant’s representatives and/or employees to

Plaintiff’s place of employment continued despite Plaintiff’s requests that Defendant not contact

him there.

       10.     During one or more of the aforementioned telephone calls, Defendant’s

representatives and/or employees represented themselves to be attorneys and/or communicating

on behalf of attorneys, and further threatened to file a lawsuit against Plaintiff if he did not pay

the alleged debt.




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        11.     Moreover, the aforementioned callers also stated that non-payment of the alleged

debt was a crime that could lead to garnishment, seizure of personal property and/or a lien being

placed on Plaintiff’s home.

        12.     On information and belief, the Defendant is not a law firm nor does it employ any

attorneys who are licensed to practice law in the State of South Carolina and therefore is unable

to take legal action against Plaintiff to collect the alleged debt.

        13.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

                a.      Communicating with Plaintiff at his place of employment after he advised

                        Defendant that his employer prohibited him from receiving such phone

                        calls while he is working, in violation of 15 U.S.C. § 1692c(a)(3);

                b.      Causing a telephone to ring or engaging Plaintiff in conversation

                        repeatedly and continuously with the intent to annoy, abuse or harass, in

                        violation of 15 U.S.C. § 1692d(5);

                c.      Falsely representing or implying that Defendant’s employee was an

                        attorney or was communicating on behalf of an attorney, in violation of 15

                        U.S.C. § 1692e(3);

                d.      Representing or implying that nonpayment of the alleged debt would

                        result in the seizure, garnishment, attachment and/or sale of Plaintiff’s

                        property or wages where such action was unlawful and/or Defendant did

                        not intend to take such action, in violation of 15 U.S.C. § 1692e(4);

                e.      Threatening to take action that could not legally be taken and/or that was

                        not intended to be taken, in violation of 15 U.S.C. § 1692e(5);




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               f.       Falsely representing or implying that Plaintiff committed a crime or other

                        conduct in order to disgrace Plaintiff, in violation of 15 U.S.C. § 1692e(7);

                        and

               g.       By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       14.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, ERVIN MARION, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

               c.       Any other relief deemed appropriate by this Honorable Court.


                                         JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of his claims in this action.

                                                       Respectfully Submitted,

                                                       /s/ James M. Ervin
                                                       James M. Ervin
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